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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, a
501(c)(6) District of Columbia organization; and
COMPUTER & COMMUNICATIONS                            Civil Action No.
                                                     4:21-cv-00220-RH-MAF
INDUSTRY ASSOCIATION d/b/a CCIA, a
501(c)(6) non-stock Virginia corporation,

      Plaintiffs,

v.

ASHLEY BROOKE MOODY, in her official
capacity as Attorney General of the State of
Florida; JONI ALEXIS POITIER, in her official
capacity as Commissioner of the Florida Elections
Commission; JASON TODD ALLEN, in his
official capacity as Commissioner of the Florida
Elections Commission; JOHN MARTIN HAYES,
in his official capacity as Commissioner of the
Florida Elections Commission; KYMBERLEE
CURRY SMITH, in her official capacity as
Commissioner of the Florida Elections
Commission; and PATRICK GILLESPIE, in his
official capacity as Deputy Secretary of Business
Operations of the Florida Department of
Management Services,

     Defendants.
_________________________________


             JOINT MOTION TO CONTINUE STAY OF CASE


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      Pursuant to Local Rule 7.1, the Parties jointly and respectfully request that the

Court stay the proceedings in this case pending efforts by the parties to obtain further

review of the decision recently issued by the United States Court of Appeals for the

Eleventh Circuit. In support thereof, the Parties state as follows:

      1.     On June 30, 2021, this Court entered a Preliminary Injunction (ECF No.

113) enjoining enforcement of sections 106.072 and 501.2041, Florida Statutes.

      2.     Defendants appealed the Preliminary Injunction and on August 25,

2021, the Court entered an Order Staying Proceedings (ECF No. 129) until the

Eleventh Circuit handed down its decision on the appeal.

      3.     On May 23, 2022, a panel of the Eleventh Circuit issued its opinion

affirming in part, and vacating and remanding in part, the Preliminary Injunction.

See, ECF No. 131.

      4.     On May 26, 2022, this Court issued its Order For Additional 26(f)

Attorney Conference (ECF No. 130). Pursuant to that Order, on June 13, 2022,

counsel for the Parties met by telephone, at which time the Parties confirmed their

shared view that this case warrants further review in the United States Supreme

Court. The parties further agreed that they will file a joint motion in the Eleventh

Circuit to stay issuance of the mandate by that Court pending Supreme Court review.

And the parties agreed that the most efficient course (for many of the same reasons

stated by the Court in ECF No. 129) would be to request a stay of further proceedings



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in this case at the District Court pending the Supreme Court’s disposition of the

parties’ anticipated petition(s) for a writ of certiorari.

       WHEREFORE, the Parties jointly and respectfully request that the Court stay

further proceedings in this case until the Supreme Court disposes of the forthcoming

petition(s) for a writ of certiorari and the mandate issues from the Eleventh Circuit.


                                             Respectfully submitted,


                                             /s/ Douglas L. Kilby


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                      LOCAL RULE 7.1(F) CERTIFICATION

         Counsel for Plaintiff Computer & Communications Industry Association

certifies that this motion contains 319 words.

                           CERTIFICATE OF SERVICE

         Counsel certifies that the foregoing document was electronically served on all

counsel of record via the CM/ECF system on this 16th day of June, 2022.



                                            Respectfully submitted,


                                            /s/ Douglas L. Kilby




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